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Prob 12A (10/16)
VAE(5/17)
                                 UNITED STATES DISTRICT COURT
                                                     for the
                                  EASTERN DISTRICT OF VIRGINIA

U.S A. vs. De Vawn Jamal Walsh                                   Docket No. 1:16MJ509

                                               Petition on Probation


          COMES NOW Daniel D. Gillespie. Jr.. PROBATION OFFICER OF THE COURT, presenting an
official report upon the conduct and attitude of De Vawn JamalWalsh, who was placed on supervision by the
Honorable John F. Anderson, United States Magistrate Judge sitting in the Court at Alexandria. Virginia, on the
18th day ofApril. 2017. who fixed the period ofsupervision at one (D year, and imposed thegeneral terms and
conditions heretofore adopted by the Court and also imposed special conditions and terms as follows:: 1) the
defendant shall participate in a drug education and/or treatment program as directed by the probation officer;
2) the defendant must undergo drug testing at the direction of theprobation officer; and 3) the defendant must
appear inCourt onApril 10,2018 at 10:00 AM ifdirected todo sobythe Court orthe probation officer.



RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS;
                                                  See Attachineiit(s)




PRAYING THAT THE COURT WILL ORDER a warrant to be issued directing that the offender appear
beforethe Courtto show cause why supervisionshould not be revoked.



                   ORDER OF COURT                              I declare under the penalty of peijury that the
                                                               foregoing is true and conrect.
Considered and ordered this            //^ day of
January, 2018 and ordered filed and made a part of             Executed on: January 11,2018
the records in the above case.
                                                                               ^ /} 2018.01.11
                                                                                      10:10:13 -OS'OO*
                      ./s/.                                    Daniel D. Gillespie, Jr.
        John F. Anderson                                       U.S. Probation Officer
        United States Magistrate Judge                         703-299-2285

                    John F. Anderson                           Place Alexandria. Virginia
              United States Magistrate Judge




TO CLERK'S OFFICE
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RE: Walsh, DeVawn Jamal

OFFENSE: Possession ofMarijuana in violation of21 U.S.C. §844.

SENTENCE: The defendant was sentenced to one (1) year pre-judgment probation pursuantto the provisions
of 18 U.S.C. §3607 with the specialconditions as listedon pageone (1).

ADJUSTMENT TO SUPERVISION: The defendant was a direct supervision transfer to the U.S. Probation
Office for the District of Maryland due to his Bowie, Maryland, residence and is currently under the
supervision of U.S. Probation Officer Kimberly Lee. Officer Lee advises that the defendant has maintained a
stable residence and gainful employment with a local caipenter union. Officer Lee further advised that the
defendant completed substance abuse treatment as directed on October 10, 2017, which included random
urinalysis testing.

Based on the reviewed arrest reports from Anne Arundel and Prince George's Counties in Maryland, it
appears that the defendant's overall adjustment to supervision has been unsatisfactory as it is alleged ^at
since on or about September 2017, he has been involved in an illegal conspiracy to distribute marijuana and
Ecstasy (MDMA) in the State of Maryland.

VIOLATIONS: The following violations are submitted for the Court's consideration.

MANDATORY CONDITION:                 COMMISSION OF A CRIME - 1) POSSESSION OF 10 GRAMS
                                     OR MORE OF MARIJUANA; POSSESSION WITH INTENT TO
                                     DISTRIBUTE MARIJUANA; 3) CONSPIRACY TO POSSESS
                                     WITH INTENT TO DISTRUBITE MARIJUANA; AND
                                     4) CONSPIRACY TO POSSESS CDS - NOT MARIJUANA.

On January 3,2018, the defendant was arrested and charged with the above listed offenses in Anne Arundel
County, Maryland, following an investigation by the United States Postal Inspection Service. According to
the reviewed statement of charges, it is alleged that Mr. Walsh was involved in an illegal conspiracy to
receive and distribute illegal substances by way of the U.S. Postal Service. The defendant is currently being
held without bondand the charges remain pendingwith a preliminary hearing scheduled for January31,2018,
in the District Court for Anne Arundel County, Maryland (Case #: D-07-CR-18-007816).

MANDATORY CONDITION:                 COMMISSION OF A CRIME -1) POSSESSION OF A FIREARM
                                     DURING A DRUG TRAFFICKING OFFENSE; 2) POSSESSION
                                     WITH     INTENT     TO    DISTRIBUTE  MARIJUANA;
                                     3) POSSESSION OF 10 GRAMS OR MORE OF MARIJUANA;
                                     AND 4) POSSESSION CDS - NOT MARIJUANA

As a result of the aforementioned arrest, a search warrant was executed at the defendant's residence in Bowie,
Maryland, (Prince George's County) that same day. A search of the residence uncovered additional illegal
substances to include 20 pills of suspected Ecstasy and 1,088 grams of marijuana, $2,000.00 U.S. currency,
handgun ammunition, and a 9mm caliber Glock Model 26 semi-automatic handgun that, through NCIC
checks, was reported to have been stolen from the State of Florida. It is reported that the street value of the
marijuana seized during the course of the investigation conducted on January 3, 2108, is estimated to be
$62,720.00.


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RE: Walsh, DeVawn Jamal

Based on these finding, an arrest warrant was issued for the defendant in Prince George's County, Maiyland
charging him with the additional above-listed law violations. The corresponding case number for tfie charges
filed in the District Court for Prince George's County, Maryland is: CR4E00658396. This warrant has not
been served; however, it is lodged as adetainer with the Anne Arundel County Detention Center.


DDG/mbp
REH




                                                                                              Prob I2A (10/16)
                                                                                                   VAE(5/I7)
